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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

  Case No. 1:21-cv-03043-RM-STV


  SHELLEY LEVINE, et al.,

                                   Plaintiffs,
  v.

  THE PALESTINE LIBERATION ORGANIZATION
  and THE PALESTINIAN AUTHORITY (a/k/a “The
  Palestinian Interim Self-Government Authority” and/or
  “The Palestinian National Authority”),

                                     Defendants.
  -------------------------------------------------------------------------X

                               DECLARATION OF DR. BOAZ SHNOOR


       a. Professional Background

          1.       I am a Senior Lecturer at the Academic Center for Science and Law (Shaarei

  Mishpat College), in Hod Hasharon, Israel, and have been a faculty member there since 2019.

  Before that I was a faculty member at the Academic Center of Law and Business, in Ramat Gan,

  Israel. During the last two decades I also held positions teaching law at the Faculty of Law of the

  Hebrew University in Jerusalem, and at the College of Management (Academic Studies Divi-

  sion) in Rishon Letzion, Israel. During the academic year 2010-2011 I was a visiting scholar at

  Cornell University’s law school.

          2.       My teaching and research fields focus primarily on Israeli tort law, libel law, en-

  vironmental law, psychological analysis of law, and honor litigation in an historical context. I am

  the author of the book Toxic Torts (2011, Sacher Institute) (Hebrew), co-author of the book Li-

  bel Law - De Lege Lata and De Lege Ferenda (2005, Sacher Institute; 2nd. Edition, 2019, Sacher
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  Institute) (Hebrew), and have authored and co-authored numerous other academic and profes-

  sional papers on Israeli tort law and other legal topics.

          3.      I hold LL.D, LL.M and LL.B degrees from the Hebrew University. My doctoral

  dissertation dealt with toxic torts. I am a member of the Israeli Bar and licensed to practice law

  in the State of Israel. A copy of my current curriculum vitae is attached hereto.


     b. Purpose of this Declaration

          4.      The purpose of this Declaration, which I provide at the request of counsel for the

  plaintiffs in the above-captioned case, is to provide my opinion regarding assertions relating to

  Israeli law (detailed below), which are contained in the defendants’ Motion to Dismiss Plaintiffs’

  First Amended Complaint Under Rule 12(b)(2) and Rule 12(b)(6)” (the “Motion”).

          5.      The bases for my opinion as set forth herein are my professional and academic le-

  gal studies, research, teaching and publishing over the course of many years, as well as the stat-

  utes, cases and authorities cited in this Declaration.


      c. Negligence Liability May Be Imposed on Multiple “But-For” Tortfeasors

          6.      The defendants assert in their Motion that because the plaintiffs allege in a differ-

  ent law suit that Syria and Iran are liable to the plaintiffs because they provided material support

  to the PFLP, the plaintiffs cannot show in this action that the defendants’ actions were a “but-

  for” cause of their injuries, as required for the tort of Negligence under Israeli law. (Id. at p. 43).

          7.      This assertion simply has no basis in Israeli law. To the contrary, Section 64 of

  the Israeli Civil Wrongs Ordinance (“CWO”) provides in relevant part that “a person shall be

  deemed to cause damage by his fault when the fault was the cause or one of the causes of the

  damage.” (emphasis added). Therefore, multiple tortfeasors may be, and very frequently are



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  found by Israeli courts to be, “but-for” (sine qua non) causes of a single tort, and Israeli courts

  hold multiple tortfeasors liable in Negligence for a single tort as a matter of course.

            8.      The rule regarding multiple tortfeasors was clarified in the leading Israeli Su-

  preme Court decision in C.A. 22/75 Edri v. Azizian PD 30(1) 701 (1976), which has been cited

  dozens of times by the Supreme Court since then. In Edri, the Court stated that when two or

  more tortfeasors are both the sine qua non reason for the Plaintiff`s harm they will be liable

  jointly and severely for the whole damage, whether they acted jointly or separately, unless the

  harm each of them caused can be separated from the harm caused by the other, and each separate

  harm can be attributed to the respective defendant that caused it.

            9.      For example (and as just one of numerous available examples), in C.A. 12914-06-

  17 (Mag. Rishon Letzion) Ilan Tal v. Toby Sivan (Dec. 5, 2020) (Nevo Publishers), the court

  found that water damage to the plaintiffs’ apartment was caused both (1) by existing building de-

  fects (which were the fault of the contractors, who were named as defendants), and (2) by a flood

  in the apartment above (which was the fault of the upstairs neighbor, who was also named as a

  defendant). The court concluded that “each of these factors” which, as noted, resulted from the

  independent conduct of different defendants, “was a sine qua non cause of the creation of the

  damage. In other words, but for the sealing defects, the flooding event alone would not have

  harmed the plaintiffs’ apartment. So too, but for the flooding event, the sealing defect would

  not have caused the harm.” Id. at 6 (emphasis added).1 See also for example the following Su-

  preme Court cases: C.A. 7436/12 Clal Insurance v. B.I.M. Building Company Inc. (July 6,

  2017); C.A. 7008/09 Al Rahim v. Al Kader (Sep. 7, 2010)




  1
      I read Hebrew and English fluently and I confirm the accuracy of this translation.

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         10.     Therefore, under Israeli law, even if the court hearing the plaintiffs’ action against

  Syria and Iran finds that their support to the PFLP was a sine qua non cause of the terrorist at-

  tack, that finding would in no way undermine or conflict with the plaintiffs’ assertion that the de-

  fendants in the above-captioned action are liable to the plaintiffs for Negligence under the CWO.


      d. The Defendants Confuse Different Types of “Vicarious Liability” Under the CWO

         11.     Defendants also assert in their Motion that the plaintiffs’ vicarious liability claims

  under Israeli law fail because they cannot show “that the Attackers were affiliated with Defend-

  ants,” or that “the PA or PLO ever authorized or ratified the actions of the Attackers,” or that

  “the PA or PLO expressly authorized the Attack.” (Id. p. 44). In support of this claim, Defend-

  ants cite Botvin v. Islamic Republic of Iran, 772 F. Supp. 2d 218, 229-30 (D.D.C. 2011). As ex-

  plained below, this assertion, too, is not correct.

         12.     The CWO includes three different sections § 12, § 13, and § 14, which allow the

  court to hold a defendant vicariously liable for the actions of the direct tortfeasor. Each of these

  three alternative sections stands alone, and has its own requirements.

         13.     Section 12 of the CWO provides that a person “who participates in, assists, ad-

  vises or solicits an act or omission, committed or about to be committed by another person, or

  who orders, authorizes, or ratifies such an act or omission, shall be liable” for such act or omis-

  sion. CWO § 12 (emphasis added). I have emphasized the word “or” because each of the various

  categories of conduct listed in CWO § 12 constitutes an alternative basis for liability. Thus, a de-

  fendant which “assists” the direct tortfeasor may be liable under CWO § 12, even if the defend-

  ant did not “participate in,” “advise,” “solicit,” “order,” “authorize,” or “ratify” the tort. Contrary

  to the defendants’ assertions, therefore, aiding and abetting liability under CWO § 12 does not

  require any authorization or ratification.


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          14.     In fact, the vast majority of Israeli court decisions under CWO § 12 involve the

  “assists” element of § 12 only—i.e., cases where the defendant only assisted the direct tortfea-

  sor. Thus, CWO § 12 functions mainly as Israel’s civil “aiding and abetting” provision.

          15.     The plaintiffs’ First Amended Complaint (“FAC”) asserts a claim for aiding and

  abetting under CWO § 12. (FAC at ¶¶ 233-34). The allegations that the PFLP carried out the at-

  tack (FAC at ¶¶ 172-73) and that for years prior to the attack the defendants provided the PFLP

  funding and various types of in-kind support that enabled and enhanced the PFLP’s ability to

  carry out terrorist attacks in Israel (FAC at ¶¶ 126-46), if true, would certainly make the defend-

  ants liable for the attack under CWO § 12.2

          16.     Section 13 of the CWO deals with vicarious liability arising from an employer-

  employee relationship, which is not relevant to this case, and is not cited in the FAC.

          17.     Section 14 of the CWO deals with vicarious liability arising from a principal-

  agent relationship (other than an employer-employee relationship). In other words, CWO § 14

  provides for respondeat superior liability. In the case cited by the defendants, Botvin, the plain-

  tiffs sought to impose liability on the basis of CWO § 14, not § 12, and the federal court made

  clear that it was not addressing § 12. (Botvin, p. 230, fn. 13 (“Because the plaintiffs have not as-

  serted the defendants’ liability under Article 12, the court will not address this potential theory of



  2
    The FAC separately alleges that the defendants are liable under the “ratification” prong of § 12, be-
  cause they make payments to the families of the terrorists who carried out the attack. (Id. ¶ 236). The
  defendants do not appear to address this assertion in their Motion, but I note that the Israeli Supreme
  Court recently held that because the Palestinian Authority (“PA”) maintains a standing program for
  making payments to imprisoned terrorists, and to the families of terrorists killed carrying out terrorist
  attacks, the PA can be held liable under § 12 for post facto ratification of a terrorist attack, solely on
  the basis of the fact that it made post-attack payments to the perpetrators, or to the families of the
  perpetrators, of the specific attack from which the suit arises. C.A. 2362/19 Does v. Palestinian Au-
  thority (April 10, 2022) rehearing denied C.R. 2744/22 (Aug. 30, 2022).

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  liability.”)). Thus, the language from Botvin quoted by the defendants relates only to CWO § 14

  (respondeat superior), not to CWO § 12.

          18.     As the defendants correctly state (quoting Botvin), CWO § 14 provides that “[a]ny

  person who employs an agent ... to do any act or class of acts on his behalf shall be liable for an-

  ything done by such agent in the performance of, and for the manner in which such agent does

  such act or class of acts.” (Motion at p. 44).

          19.     Contrary to the defendants’ arguments, CWO § 14 does not require that the prin-

  cipal “authorized or ratified” the tortious actions of the agent, much less “expressly authorized”

  those actions.3 Rather, under § 14, a principal is liable for any act done by an agent in the course

  of fulfilling his duties as an agent. The liability of the principal is strict and it does not matter

  whether the defendant intended the agent to perform the tort or not, whether the defendant knew

  about the possibility of the occurrence of the tort or not, or whether the defendant was negligent

  or not in appointing the agent. Under controlling Israeli Supreme Court precedent, pursuant to

  CWO § 14, the mere fact that the agent was indeed the principal’s agent is sufficient to deem the

  principal liable for any tort done by the agent in the course of fulfilling the agency. (C.A. 502/78

  State of Israel v. Nissim, PD 35(4) 748 (1981)).

          20.     The FAC asserts a respondeat superior claim under CWO § 14, on the grounds

  that the defendants used the PFLP as their agent to carry out terrorist attacks in order to achieve

  their goal (shared with the PFLP) of ending the Israeli and Jewish presence in certain territories.




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    Until 2005, the CWO contained a provision (§ 25) that a principal would not be liable for an assault
  committed by its agent unless the principal had expressly authorized or ratified the assault. However,
  that provision was repealed in 2005, almost a decade before the attack at issue here.

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                       CURRICULUM VITAE – BOAZ SHNOOR



      1. Higher Education
        Undergraduate and Graduate Studies

         Period of      Name of Institution   Degree               Year of Approval of
         Study                                                     Degree
                        and Department

         2015 – 2021    Open University       Psychology (B.A.)            2021

         1997-2004      Hebrew University     LL.D.                        2005
                        Law School

         1996-1999      Hebrew University     LL.M. (part of               1999
                        Law School            accelerated LL.D.
                                              program)

         1991-1995      Hebrew University     LL.B. (magna cum             1995
                        Law School            laude)



      2. Academic Ranks and Tenure in Institutes of Higher Education
        Dates                    Name of Institution and
                                 Department

                                                                  Rank/Position

        2019-                    The Academic Center for Law Senior Lecturer
                                 and Science (Sha'arei Mishpat
                                 College), Hod Hasharon

        2013-2019                Law faculty, Academic Center Senior Lecturer
                                 of Law and Business, Ramat
                                 Gan

        2010-2011                Cornell University Law School Visiting Scholar

        2007-2008                The Academic Center for Law Adjunct Lecturer
        2018-2019                and Science (Sha'arei Mishpat
                                 College), Hod Hasharon
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            2004-2013                 Law faculty, Academic Center Lecturer
                                      of Law and Business, Ramat
                                      Gan

            2003-2004                 Law faculty, Academic Center Adjunct Lecturer
                                      of Law and Business, Ramat
                                      Gan

            2002-2017                 School of Law, the College of Adjunct Lecturer
                                      Management         Academic
                                      Studies, Rishon LeZion

            2002-2016                 Law      faculty,     Hebrew Adjunct Lecturer
            2021-2022                 University, Jerusalem



      3. Offices in Academic Administration
   2022 -          Head of Teaching Committee, The Academic Center for Law and Science
            (Sha'arei Mishpat College)
   2020 -         Member of the Institutional Ethical Review Board, The Academic Center for
            Law and Science (Sha'arei Mishpat College)
   2019 - 2022 Head of the Research Authority, The Academic Center for Law and Science
          (Sha'arei Mishpat College)
   2013 - 2018 Chairperson, Institutional Ethical Review Board, Academic Center of Law
          and Business
   2011 – 2018 Chairperson, Students' Disciplinary Appeals Board, Academic Center of Law
          and Business
   2006 – 2010      Chairperson, Students' Disciplinary Board, Academic Center of Law and
   Business
   2005 - 2013     Founder and Academic Supervisor of the Environmental Law Clinic,
                   Academic Center of Law and Business


      4. Scholarly Positions and Activities outside the Institution
            a. Membership in Scientific Editorial Boards
   2019 - 2021     Co-Editor, The Oñati Socio-Legal Series, ‘Too Much Litigation?’ issue
   2017-2018       Guest Co-Editor, the International Journal of the Legal Profession


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    2016-2017     Co-Editor, The Oñati Socio-Legal Series, ‘Too Few Judges: Regulating the
                  Number of Judges in Society’ issue
    1993-1994     Co-Editor in Chief “Mishpatim” (Hebrew University Law Review)
    1992–1993     Member of the Editorial Board “Mishpatim” (Hebrew University Law
                  Review)
          b. Reviewing Articles for Law Reviews
    2021 "Hamishpat" - the College of Management, Academic Studies Law journal
    2020 "Mishpat Va`Asakim" – IDC Law Review
    2020 "Moznei Mishpat" – Netanya Law Review
    2020 "Mishpatim online" - Hebrew University Online Law Journal
    2019 “Mishpatim” - Hebrew University Law Review
    2019 "Mishpat Va`Asakim" – IDC Law Review
    2018 "Mishpatim online" - Hebrew University Online Law Journal
    2014 “Mishpatim” - Hebrew University Law Review (two articles)
    2012 “Mishpatim” - Hebrew University Law Review
    2012 "Mehkarei Mishpat" - Bar Ilan Law Studies
    2011 "Alei Mishpat" - Academic Center of Law and Business Law Review
    2010 "HaMishpat" - the College of Management, Academic Studies Law journal
    2009 "Hukim" – Journal on Legislation
    2008 "Din U`Dvarim" - Haifa University Law Review
    2008 "Alei Mishpat" - Academic Center of Law and Business Law Review
    2007 "Hapraklit" - Israeli Bar Review
    2007 “Mishpatim” - Hebrew University Law Review
    2006 "Hapraklit" - Israeli Bar Review


          c. Reviewing Dissertations, Theses and Books
    2019 Reviewing a Proposal for Master`s Thesis – Bar Ilan University Law Faculty
    2018 Reviewing a Doctoral Dissertation – The Hebrew University Law Faculty
    2015 Reviewing a book - the Harry Sacher Institute for Legislative Research and
         Comparative Law


          d. Public Committees


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    2015-2016    The Ministry of Health Public Committee for the Regulation of Procedures
                 regarding Living Organ Donors – member
    2013         The Public Commission on Age as a Criteria for Receiving Organ Donations -
                 member

       5. Participation in Scholarly Conferences
       a. Active Participation
    Conferences Abroad

       Date      Name of Conference        Place of           Subject of                Role
                                          Conference      Lecture/Discussion
    June 2019   Workshop on Too          Oñati, Spain   Don Quixote de la Corte: Speaker
                Much Litigation?:                       Serial Litigants,
                Facts, Reasons,                         Emotions, and Access to
                Consequences, and                       Justice (with Eyal
                Solutions                               Katvan)
    June 2016   Workshop on Too Few Oñati, Spain        Judges' Precious Time:      Speaker
                Judges: Regulating the                  Let’s talk about it (with
                Number of Judges in                     Eyal Katvan)
                Society
    July 2015   Workshop on              Oñati, Spain   Informed Consent to         Speaker
                Consumer Redress                        Legal Treatment (with
                When Lawyers Are                        Eyal Katvan)
                Negligent
    May 2014    How Objective Can      Antwerp          Courts as the Creators of Speaker
                Judges Be: Legal Rule,                  Legal Rules :The Case,
                Evidence, Narratives,                   the Judge, the Court and
                Society Conference                      the State
    November The 6th Annual              Chicago        Cases, Judges, States, or Speaker
    2011     Conference on                              Politics - What is it that
             Empirical Legal                            Changes the Law? A
             Studies                                    Study of States’ Supreme
                                                        Courts' Decisions to
                                                        Accept or Reject the
                                                        Loss of Chance Doctrine
    June 2011   Association for Israel   Boston         Terms of Betrayal –         Speaker
                Studies                                 Legal and behavioral
                                                        aspects of ringworm


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                                                      treatment in Israel (with
                                                      Eyal Katvan)
    July 2006    17th Congress of the  Utrecht, the   Pure Economic Loss in       Speaker
                 International Academy Netherlands    Israel (with Tamar
                 of Comparative Law                   Gidron)


    Conferences in Israel

       Date       Name of Conference      Place of          Subject of                Role
                                         Conference     Lecture/Discussion
    June 2016    Research Workshop of Ramat-Gan       Honor in Informal           Speaker
                 the Israel Science                   Courts in Mandatory
                 Foundation - Honor in                Palestine (with Eyal
                 a Changing Society                   Katvan)
    June 2016    32nd annual Conference Jerusalem     Eastern or Western          Speaker
                 of the Association for               'Kavod'? Honor in
                 Israel Studies                       Informal Courts in
                                                      Mandatory Palestine"
                                                      (with Eyal Katvan)
    October      The Association for  Jerusalem       `But Your Honor, he        Speaker
    2015         Law & History Annual                 Started it`: Honor and the
                 Conference                           Regulation of Emotions
                                                      in Informal Courts in
                                                      Mandatory Palestine
                                                      (with Eyal Katvan)
    April 2015 Conference on         Tel-Aviv         Judges' Perceptions of      Speaker
               Lawyers' Legal Ethics                  Counsels' Behavior in
               and Professional                       Court
               Responsibility –
               Hamishpat Law
               Review
    October      The Law and History   Jerusalem      The History of the          Speaker
    2013         Association Annual                   Struggle between
                 conference                           Freedom of Speech and
                                                      Honor – Legislation vs.
                                                      Adjudication (Heb.)




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    December    The Law and Society   Ramat-Gan    Cases, Judges, or Politics Speaker
    2012        Conference                         – What makes American
                                                   Courts Change Tort
                                                   Law? (Heb.)
    October     The Law and History   Jerusalem    Archives with Honor       Speaker
    2012        Association Annual                 (Heb.) (with Eyal
                conference                         Katvan)
    October     The Legal Year        Haifa        Libel Law in Israel 2012 Speaker
    2012        Conference                         (Heb.)
    May 2012    3rd Annual Conference Ramat-Gan    Cases, Judges, States, or Speaker
                of the Israeli                     Politics - What is it that
                Association of Private             Changes the Law? A
                Law                                Study of States’ Supreme
                                                   Courts' Decisions to
                                                   Accept or Reject the
                                                   Loss of Chance Doctrine
                                                   (Heb.)
    May 2012    Intermediary Liability Haifa       Intermediaries' Liability Speaker
                in the Digital Age                 for Libel - Lessons from
                                                   Past Developments in
                                                   Israeli Courts and the
                                                   Knesset
    April 2012 Regulation of Off-     Tel-Aviv     Torts as Regulation of    Speaker
               Shore Drilling                      Off-Shore Drilling
               Conference                          (Heb.)
    December    Annual Conference of Ramat-Gan     A Community with Its      Speaker
    2011        the Israeli Association            Own Dignity (Heb.)
                of Law and Society                 (with Eyal Katvan)
    November Between Criminal and Ramat-Gan        Punitive Damages,     Speaker
    2008     Civil                                 Compensation for Non-
                                                   pecuniary Harm and
                                                   Compensation without
                                                   Proof of Harm (Heb.)
    June 2008   Conference on          Ramat-Gan   Economic Incentives and Speaker
                Economic Incentives in             Pollution: Goal and
                Environmental Law                  Methods (Heb.)




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    May 2008    Evidence Law             Haifa        Evidence Law and        Speaker
                                                      Uncertainty in Tort Law
                                                      (Heb.)
    March 2007 Libel Law                 Jerusalem    Libel law – Theory and      Speaker, part
                                                      Reality (Heb.)              of panel
    May 2006    Conference on Animal Ramat-Gan        Pets, Torts and Animal      Speaker
                Rights and Biodiversity               Rights (Heb.)
    June 2005   8th International      Rehovot        Environmental Law:          speaker
                Conference of the                     From Public to Private
                Israel Society for                    Enforcement
                Ecology and
                Environmental Quality
                Sciences - Living with
                Global Change:
                Challenges in
                Environmental
                Sciences
    December    The 13th annual       Ein Gedi        The Causal Connection speaker
    2003        conference of the                     in the Shamgar
                Rationality Center of                 Committee Report on the
                the Hebrew University                 Kishon River (Heb.)
    December    Annual convention of     Tel-Aviv     Causation in                speaker
    2002        the Israel Society for                Environmental Torts
                Ecology and                           (Heb.)
                Environment


       b. Organization of Conferences or Sessions

       Date     Name of              Place of        Subject            of Role
                                                     Conference/
                Conference           Conference
                                                     Role at Conference/
                                                     Comments
       June     Workshop on Too      Oñati, Spain    The litigants in          Coordinator
       2019     Much Litigation?:                    Courts                    (Member of the
                Facts, Reasons,                                                scientific board)
                Consequences, and
                Solutions


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       June      Research              Ramat-Gan       Honor in a Changing      Member of the
       2016      Workshop of the                       Society                  scientific board,
                 Israel Science                                                 member of the
                 Foundation -                                                   organizing
                 Honor in a                                                     committee
                 Changing Society
       June      Workshop on Too       Oñati, Spain    Regulation of the        Coordinator
       2016      Few Judges:                           Number of Judges in      (Member of the
                 Regulating the                        Society                  scientific board)
                 Number of Judges
                 in Society
       May       Conference on         Ramat-Gan       Animal rights and        Organizer
       2006      Animal Rights and                     Biodiversity
                 Biodiversity


       6. Invited Lectures\ Colloquium Talks
     Date        Place of Lecture               Name of Forum       Presentation/Comments

     November Sha`arei Mishpat – The            Israeli bar –       Defenses in Defamation
     2021     Academic College of Law           Libel and
              and Science                       Privacy Law
     October     Peres Academic Center,         Law school,         Critique on Omer Aloni,
     2021        Rehovot                        Faculty Seminar     "The League of Nations and
                                                                    the Protection of the
                                                                    Environment"
     October     Zoom                           Jewish History      "Honorably – Theodor
     2020                                       and Emotions        Herzl" (With Eyal Katvan
                                                on-line             and Meron M. Piotrkowski)
                                                workgroup
     March       Tel-Aviv – Jaffa Civil         Judges`             Libel and the Judicial
     2018        Court                          Workshop            Process
     June 2017   Tel-Aviv University            Environmental       Substance and Practice in
                                                Law Program         Mass Environmental Torts
     November Tel-Aviv University               Environmental   Toxic Torts
     2016                                       Clinic Workshop
     December    Ashkelon                       The Institute for   Defenses in Libel Suits
     2013                                       Judges` Training

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     January     Ashkelon                  The Institute for   Psychology of Causation
     2013                                  Judges` Training
     March       Ma`aleh HaHamisha         Ministry of         Nuisance Law and
     2012                                  Environmental       Remedies in Torts
                                           Protection
     February    Neve Ilan                 The Institute for   Challenges of
     2012                                  Judges` Training    Environmental Protection –
                                                               Policy, Law, and Action
     November Academic Center of Law &     Law faculty,        Cases, Judges, States, or
     2011     Business                     Faculty Seminar     Politics - What is it that
                                                               Changes the Law? A Study
                                                               of States’ Supreme Courts'
                                                               Decisions to Accept or
                                                               Reject the Loss of Chance
                                                               Doctrine
     October     Yad Hashmona              Ozmat forum for     Toxic Torts
     2011                                  legal aids
     March       Cornell University        Berger              The Influence of Betrayal
     2011                                  International       on Law Making: Lessons
                                           Legal Studies       from the United States and
                                           Program             Israel
                                           Speaker Series
     December    Faculty Seminar, Academic Faculty Seminar, Loss of Chance: A
     2008        Center of Law and Business Law School      Behavioral Analysis of the
                                                            Difference between Medical
                                                            Negligence and Toxic Torts
     November The Law Faculty, Tel Aviv    The Yuval Levy      Loss of Chance: A
     2008     University                   & Co. Law &         Behavioral Analysis of the
                                           Environment         Difference between Medical
                                           Workshop            Negligence and Toxic Torts
     June 2008   The College of            Faculty Seminar, Loss of Chance: A
                 Management Academic       Law School       Behavioral Analysis of the
                 Studies, Rishon LeZion                     Difference between Medical
                                                            Negligence and Toxic Torts
     May 2008    Haifa University          Judges`             Uncertainty and Causation
                                           Conference          in Tort Cases



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     October    Neve Ilan                     The Institute for    Toxic Torts
     2007                                     Judges` Training
     January    Netanya College               Environmental        The Future of Toxic Torts
     2006                                     Law Professors
                                              Forum


    8. Research Grants

          e. Grants Awarded

     Role in    Co-Researchers    Topic                              Funded by/       Year
     Research                                                        Amount

     Co-PI      Eyal Katvan       The Consequences of Policy         The Israel       2017
                (PI), Tamar       Changes regarding the use of       National
                Ashkenazi (PI),   Age Criteria in Organ              Institute for
                Israel Doron,     Transplantation                    Health Policy
                and Eitan Mor                                        Research
                                  Publications: article No. 11
                                                                     123,000 NIS
     PI         Eyal Katvan       Honor in a Changing Society -      Israel Science   2015
                                  Research Workshop Grant            Foundation
                                                                     68,000 NIS
     PI         Eyal Katvan       Lawyers (in)Civility in Courts     David Weiner 2014
                                  – Empirical Research of            Center for
                Chemi Ben
                                  Judges' Attitudes                  Lawyers
                Noon
                                                                     Ethics and
                                  Publications: article No. 9
                                                                     Professional
                                                                     Responsibility
                                                                     5,000 NIS
     PI         Eyal Katvan       Kavod (honor) and its Legal        Israel Science   2013
                                  Defense in Mandatory               Foundation
                                  Palestine: Values in “Melting      360,000 NIS
                                  Pot” Societies
                                  Publications: articles No. 16,
                                  18, 19, 20




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         9. Teaching
               Courses Taught in Recent Years


Year        Name of Course        Type of Course                Degree   Number of
                                  Lecture/Seminar/                       Students
                                  Workshop/High Learn
                                  Course/ Introduction Course
                                  (Mandatory)
2002-       Tort law              Mandatory Introductory        LL.B.    70-200 (most years
2022                              Course 6-8 credits                     I gave the course
                                                                         more than once)
2004 -      Environmental law     High Learn Course             LL.B.    20-90
2012

2008 -      Environmental law     High Learn Course             LL.B.    20-90
2010        and Policy
2018 -      Environmental law     High Learn Course             M.A.     50 - 75
2021        and Policy
2013-       Environmental law     Seminar                       LL.B.    12-25
2015        and Policy
2017
2021
2002-       Causation in torts    High Learn Course             LL.B.    20-50
2005
2019
2004-       Causation in torts    Seminar                       LL.B.    12-25
2009
2011-
2013
2008-       Tortious              Seminar                       LL.B.    12
2009        adjudication under
            uncertainty
2009        Negligence            Seminar                       LL.B.    10
2010
2015-       Tortious protection   Seminar                       LL.B.    12-20
2017        of personal and
            economic interests
2005 -      Libel law             High Learn Course             LL.B.    15-50
2008


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2015-   Libel and privacy   Seminar                  LL.B.   12-25
2021    law
2017-   Libel and privacy   Seminar                  LL.M.   12-20
2021    law
2015-   Psychology of       High Learn Course        LL.B.   15-50
2017    Judging
2019
2021




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                                            Publications
    A. Authored Books – Published

    2a. Khalid Genaim, Mordechai Kremnitzer, Boaz Shnoor, Libel Law, 2nd Ed., 2019, The
        Sacher Institute Hebrew University, The Israel Democracy Institute and Nevo Publishing,
        [556 pages]. Ranked A
    2b . Khalid Genaim, Mordechai Kremnitzer, Boaz Shnoor, Libel Law - De Lege Lata and De
        Lege Ferenda, 2005, The Sacher Institute Hebrew University and The Israel Democracy
        Institute, Heb., [487 pages]. Ranked A
    3. Boaz Shnoor, Toxic Torts, 2011, Nevo Publishing and The Sacher Institute Hebrew
        University, Heb., [613 pages]. Ranked A


    B. Edited Books and Special Journal Issues – Published

    4. ‘Too Few Judges: Regulating the Number of Judges in Society’ issue, Vol. 7(4) The Oñati
    Socio-Legal Series, 2017 (with Eyal Katvan, Ulrike Schultz and Avrom Sherr)
    5. ‘Too Few Judges’ issue, Vol. 26(1), The International Journal of the Legal Profession,
    2019 (with Eyal Katvan, Ulrike Schultz and Avrom Sherr) Ranked B
    6. ‘Too Much Litigation?’ issue, Vol. 11(2) The Oñati Socio-Legal Series, 2021 (with Eyal
    Katvan, Ulrike Schultz, Guy Seidman and Avrom Sherr)


    C. Articles in Refereed Journals
           Published

    7.     Boaz Shnoor, Volenti Non Fit Injuria: Theory and Reality, 1 ALEI MISHPAT 327-354
           (2000, Heb.) Ranked B
    8.     Boaz Shnoor, The Theoretical Foundation of Proportional Liability in Israel, 37
           MISHPATIM LAW REVIEW 177-218 (2007, Heb.) Ranked A
    9.     Boaz Shnoor, Causation in Fact in Toxic Torts, 23(2) LAW STUDIES (Bar-Ilan Law
           Review) 559-620 (2007, Heb.) Ranked A
    10.    Talma Izak-Biran, Richard Laster, Tamar Berman and Boaz Shnoor, Consequences
           of Ignoring Uncertainty – 'Probability of Causation' in Radiation Cases, 39(1)
           ENVIRONMENTAL POLICY AND LAW 70-72 (2009) [peer reviewed] SJR 0.178
    11.    Boaz Shnoor, Loss of Chance: A Behavioral Analysis of the Difference between
           Medical Negligence and Toxic Torts, 33(1) AMERICAN JOURNAL OF TRIAL ADVOCACY



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          71-112 (2009)      Ranked 6th out of 32 in civil litigation and dispute resolution in
          Washington and Lee
    12.   Eyal Katvan, Boaz Shnoor, Between Civility and Reputation, Following C.A.
          1104/07 Kheir v. Gil, 15 HAMISHPAT 71-110 (2010, Heb.) Ranked B
    13.   Boaz Shnoor, On the Relationship between Setting the Legal Rule and Adjudicating
          the Concrete Case, 10 ALEI MISHPAT 7-52 (2012, Heb.) Ranked B
    14.   Boaz Shnoor, Truth, Lies, and in Between them – Developments in Israeli Libel Law
          2012, 8 DIN U’DVARIM 197-239 (2014, Heb.) Ranked A
    15.   Chemi Ben Noon, Boaz Shnoor, Eyal Katvan, Judges' Perception of Lawyers'
          Behavior in Court, 21 HAMISHPAT 11-49 (2015, Heb.) Ranked B
    16.   Boaz Shnoor, Sub Judice and Freedom of Speech – Words in the Air and the Dead
          Letter of the Law, 12 ALEI MISHPAT 261-284 (2015, Heb.) Ranked B
    17    Eyal Katvan, Israel Doron, Tamar Ashkenazi, Hagai Boas, Michal Carmiel-Haggai,
          Michal Dranitzki Elhalel, Boaz Shnoor, Jacob Lavee, Age limitation for organ
          transplantation: the Israeli example, 46(1) AGE AND AGEING, 8–10 (2017) [peer
          reviewed] IP 10/2 (3 out of 53 Si: Geriatrics & Gerontology)
    18    Eyal Katvan, Boaz Shnoor, Informed Consent to Legal Treatment – Lessons from
          Medical Informed Consent, 24(2) THE INTERNATIONAL JOURNAL OF THE LEGAL
          PROFESSION 125-144 (2017) [peer reviewed] SJR 0.22 Ranked B 2nd Quartile
    19a   Boaz Shnoor, Eyal Katvan, Court’s Precious Time: Transparency, Honor and Judicial
          Scarce Resources, 7(4) OÑATI SOCIO-LEGAL SERIES, 825-846 (2017) [peer reviewed]
    19b   Boaz Shnoor, Eyal Katvan, A Perfect Façade?: Transparency, Honor and Judicial
          Scarce Resources, 26(1) INTERNATIONAL JOURNAL OF THE LEGAL PROFESSION, 143-158
          (2019) [peer reviewed] SJR 0.22 Ranked B 2nd Quartile
    20    Limor Zer-Gutman, Eyal Katvan, Boaz Shnoor, Lawyers' Honor in the Professional
          and Private Spheres, 11(2) HAIFA LAW REVIEW (Din Udvarim) 457-501 (2018) (Heb.)
          Ranked B
    21    Doron Menashe, Boaz Shnoor, Sub Judice and Free Speech: Balancing the Right to a
          Fair Trial against Freedom of Expression in Israel, 18(1) SAN DIEGO INTERNATIONAL
          LAW JOURNAL 39-70 (2018) ranked 72 out of 163 under international law, in
          Washington and Lee ranking Ranked C
    22     Eyal Katvan, Boaz Shnoor, An Angry worker: Honor, Anger and the Working Class
          Emotions in Informal Adjudication in Mandatory Israel, 3 LAW, SOCIETY & CULTURE
          191-226 (2020) [peer reviewed] (Heb.)
    23    Eyal Katvan, Boaz Shnoor, Don Quixote de la Corte: Serial Litigants, Emotions, and
          Access to Justice, 11(2) OÑATI SOCIO-LEGAL SERIES 503-533 (2021) [peer reviewed]

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    24     Boaz Shnoor, Eyal Katvan, Freedom of Expression, Honor, and Judicial
           Independence in Mandate Palestine 26(2) ISRAEL STUDIES 66-83 (2021). [peer review]
           SJR 0.13 Q2
    25     Eyal Katvan, Boaz Shnoor, Physicians' Honor and Prestige in Pre-Israel Palestine, 25
           KOROT 7-42 (2021)(Heb.) [peer reviewed]
    26     Boaz Shnoor, Eyal Katvan, Reputation Struggles: A Jubilee of developments in Libel
           Law – Chronicles of a dynamic balance, 14 NETANYA LAW REVIEW 65-108 (2021)
           (Heb.) Ranked C


           Accepted for Publication

    27     Boaz Shnoor, Binding Precedent? Tort Cases not Creating Legal Rules, 28
           HAMISHPAT __ (to be published 2022, approx. 30 pages)(Heb.) Ranked B
    28     Eyal Katvan, Boaz Shnoor, In whose honor? The Debate regarding Court Dress
           HAPRAKLIT (TO BE PUBLISHED 2022, APPROX. 40 PAGES) (HEB.) RANKED B


          D. Articles or Chapters in Scientific Books
           Published
    29.    Khalid Genaim, Mordechai Kremnitzer, Boaz Shnoor, Libel Law, in DEFENDING
           FREEDOM OF SPEECH IN THE DEMOCRATIC STATE pp. 179 – 233 (M. Kremnitzer ed.,
           2003, The Israel Democracy Institute, Heb.)
    30.    Tamar Gidron, Boaz Shnoor, Pure Economic Loss in Israel, in PURE ECONOMIC LOSS
           186-217 (Mauro Bussani, Vernon Palmer, Eds., Routledge-Cavendish publishing,
           2009). A different version of this paper was published as part of conference
           proceedings (see F.1) Ranked A
    31.    Boaz Shnoor, Israel Gilead, Causal Uncertainty and Proportional Liability in Israel,
           in PROPORTIONAL LIABILITY – ANALYTICAL AND COMPARATIVE PERSPECTIVES pp.
           183-198 (Israel Gilead, Michael D. Green, Bernhard A. Koch, Eds., De Gruyter
           publishing, 2013)
    32.    Boaz Shnoor, Eyal Katvan, The Ringworm Victims Compensation Law – 1994:
           Legislation and Court Decisions – between Rhetoric and Compensation, in
           RINGWORM - THE INTERNATIONAL AND THE ISRAELI SAGA, (eds.: Shvarts S, Sadetzki
           S., Ben Gurion University Publication, 2018, Heb.) Ranked A


          E. Articles in Conference Proceedings



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          Published

    33.   Tamar Gidron, Boaz Shnoor, Pure Economic Loss in Israel, in Israeli Reports to the
          XVII International Congress of Comparative Law 199-230 (The Sacher Institute,
          2009) A different version of this paper was published as a book chapter (see D.2)




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